           Case 2:15-cr-00348-RSL       Document 612       Filed 04/26/17    Page 1 of 1



 1

 2

 3

 4

 5

 6

 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9
      UNITED STATES OF AMERICA,
10
                           Plaintiff,
11
                                                             NO. CR15-348RSL
                    vs.
12
      MARLEN RAVELO,                                         ORDER DENYING MOTION FOR
13
                                                             CREDIT FOR TIME SERVED
                           Defendant.
14
           On April 10, 2017, defendant filed a Motion for Credit for Time Served, Dkt. #609.
15
     As Ms. Ravelo’s Montana time served was already accounted for in both her state plea deal and
16
     the government’s sentencing recommendation to this Court, See Dkt. # 581 at 26, the Court
17
     declines to grant Ms. Ravelo further credit for her time served in Montana.
18
           It is hereby ordered that defendant’s Motion for Credit for Time Served is DENIED.
19

20
           DATED this 26th day of April, 2017.
21

22

23
                                              A
                                              Robert S. Lasnik
24                                            United States District Judge

25

26

27

28   ORDER DENYING MOTION FOR CREDIT FOR TIME SERVED
